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                   ATTACHMENT A
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




  FEDERAL TRADE COMMISSION,

                    Plaintiff,
                                                        Case No. 1:20-cv-03590-JEB
               v.

  META PLATFORMS, INC.,

                    Defendant.


                                 PLAINTIFF’S FINAL WITNESS LIST

       Pursuant to Local Civil Rule 16.5 of the U.S. District Court for the District of Columbia

and the Court’s December 20, 2024 Order (ECF No. 390), Plaintiff Federal Trade Commission

respectfully submits the following final witness list. Plaintiff also submits as Attachment A-1 a

summary of salient information, provided for ease of reference. Plaintiff reserves the right:

   1. To call any other individuals not included on this witness list for the purpose of

       impeachment;

   2. To call the custodian of records of any party or non-party or other witness to the extent

       necessary to demonstrate the authenticity or admissibility of documents, in the event a

       stipulation cannot be reached concerning the authentication or admissibility of such

       documents or an appropriate certification cannot be obtained pursuant to Federal Rule of

       Evidence 902(11);

   3. To question the persons listed below about any topics that are the subjects of testimony

       by witnesses called by Defendant;



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4. To question the persons listed below about any other topics that the person testified about

   at his or her deposition or investigational hearing, or about any matter that is discussed in

   any document to which the person had access and which is designated as an exhibit by

   any party, or produced since the person’s deposition was taken, or any other matters as to

   which it is determined that the person has knowledge that is relevant to the allegations of

   the Complaint or Defendant’s defenses;

5. Not to call any of the persons listed, as circumstances may warrant;

6. To question any witnesses on Defendant’s witness list, including pursuant to Court’s

   February 21, 2025 Order (ECF No. 401 ¶ 3) regarding scope of testimony;

7. To call any witness through video designation, rather than live, if needed, including to

   accommodate witnesses or address scheduling or availability constraints;

8. To call any of these individuals, or any witnesses identified on Defendant’s witness list,

   for rebuttal testimony; and

9. To question witnesses for more or less than the estimated time, within Plaintiff’s

   allocation of time in this trial.




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Dated: March 12, 2025             Respectfully submitted,

                                  /s/ Daniel Matheson
                                  Daniel Matheson (D.C. Bar 502490)
                                  Krisha Cerilli (D.C. Bar 983281)
                                  Nathan Brenner (IL Bar 6317564)
                                  Noel Miller (D.C. Bar 1026068)
                                  Karen Goff (N.Y. Bar 4630901)
                                  Federal Trade Commission
                                  Bureau of Competition
                                  400 Seventh Street, S.W.
                                  Washington, D.C. 20024
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                                  Attorneys for Plaintiff Federal Trade Commission




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




  FEDERAL TRADE COMMISSION,

                    Plaintiff,
                                                       Case No. 1:20-cv-03590-JEB
               v.

  META PLATFORMS, INC.,

                    Defendant.


                          PLAINTIFF’S WITNESS LIST SUPPLEMENT


                                       Live Fact Witnesses
                     Current or
Witness              Former               Form of            Time Estimate     Will Call/May
                     Affiliation          Testimony                            Call
Acton, Brian         Meta                 Live               1 hour            May Call
                                                                               (rebuttal)
Alison Tom           Meta                 Live               1 hour            Will Call
Arora, Neeraj        Meta, Google         Live               1 hour            Will Call
Cathcart, Will       Meta                 Live               0.75 hours        Will Call
Cobb, Curtiss        Meta                 Live               1.5 hours         Will Call
Coleman, Keith       Twitter/X            Live               1 hour            Will Call
Deng, Peter          Meta                 Live               0.75 hours        Will Call
DeWolfe, Chris       MySpace              Live               0.75 hours        Will Call
Ebersman,            Meta                 Live               0.5 hours         Will Call
David
Filner, Aaron        Alphabet             Live               1 hour            Will Call
                     (YouTube)
Gaynor, Alex         FTC                  Live               0.25 hours        May Call
Goetz, Jim           Sequoia Capital      Live               1 hour            Will Call
Hegeman, John        Meta                 Live               1 hour            Will Call
Heysse, Todd         Meta                 Live               0.75 hours        May Call
                                                                               (rebuttal)
Hinson, Hunter       FTC                  Live               0.25 hours        May Call
Horowitz,            Alphabet             Live               0.75 hours        Will Call
Bradley


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Imam, Mubarik    Meta                Live         0.5 hours        May Call
                                                                   (rebuttal)
Jain, Saral      Snap                Live         0.75 hours       Will Call
Krieger, Mike    Meta                Live         1.5 hours        May Call
                                                                   (rebuttal)
Malhotra,        Meta                Live         0.5 hours        May Call
Nipoon
Morin, Dave      Path                Live         0.5 hours        May Call
                                                                   (rebuttal)
Mosseri, Adam    Meta                Live         2 hours          Will Call
Olivan, Javier   Meta                Live         1 hour           Will Call
Ortega, Mateo    Strava              Live         0.75 hours       Will Call
Patel, Keval     Meta                Live         0.75 hours       Will Call
Presser, Adam    TikTok              Live         1.25 hours       Will Call
Roberts, Julia   Pinterest           Live         1 hour           Will Call
Rosen, Guy       Meta                Live         1 hour           Will Call
Sandberg,        Meta                Live         1 hour           Will Call
Sheryl
Schroepfer,      Meta                Live         1 hour           Will Call
Mike
Schultz, Alex    Meta                Live         1.5 hours        Will Call
Shah, Ronak      Apple               Live         0.5 hours        Will Call
Simo, Fidji      Meta                Live         0.75 hours       May Call
                                                                   (case-in-chief
                                                                   and rebuttal)
Stoop, Dirk      Meta                Live         0.5 hours        Will Call
Systrom, Kevin   Meta                Live         3 hours          Will Call
Tang, Julia      Discord             Live         0.5 hours        Will Call
Tucker, Eli      Tumblr/Automattic   Live         0.5 hours        Will Call
Vallery, Jason   Microsoft           Live         0.5 hours        May Call
                                                                   (rebuttal)
Zuckerberg,      Meta                Live         7 hours          Will Call
Mark




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                                Live Expert Witnesses
                  Current or
Witness           Former            Form of             Time Estimate     Will Call/May
                  Affiliation       Testimony                             Call
Aral, Sinan       Expert            Live                1 hour            Will Call
                                                                          (case-in-chief
                                                                          and rebuttal)
Bray, Tim         Expert            Live                1.5 hours         Will Call
                                                                          (case-in-chief
                                                                          and rebuttal)
Hearle, Kevin     Expert            Live                0.75 hours        Will Call
                                                                          (case-in-chief
                                                                          and rebuttal)
Hemphill, Scott   Expert            Live                6 hours           Will Call
                                                                          (case-in-chief
                                                                          and rebuttal)
Lampe, Cliff      Expert            Live                1.5 hours         Will Call
                                                                          (case-in-chief
                                                                          and rebuttal)
Malkiewicz,       Expert            Live                1 hour            Will Call
Michael                                                                   (case-in-chief
                                                                          and rebuttal)
McCoy, Damon      Expert            Live                1 hour            Will Call
                                                                          (case-in-chief
                                                                          and rebuttal)
Rim, Jihoon       Expert            Live                1 hour            Will Call
                                                                          (case-in-chief
                                                                          and rebuttal)




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                         Video or Read Testimony Witnesses
                Current or
Witness         Former             Form of          Time Estimate     Will Call/May
                Affiliation        Testimony                          Call
Andreou, Jacob Snap                Video            1.4 hours         Will Call
Bennett, Jason  AWS                Video            0.3 hours         May Call
Botha, Roelof   Sequoia Capital    Video            0.7 hours         Will Call
Chandlee, Blake TikTok             Video            0.3 hours         Will Call
Davenport, Ben Meta                Video            0.1 hours         May Call
Esfahani, Ali   Morgan Stanley     Video            0.1 hours         May Call
Idema, Matthew Meta                Video            0.1 hours         May Call
Kim, Thomas     Alphabet           Video            0.2 hours         May Call
Mehta, Rahul    DST Global         Video            0.3 hours         Will Call
Morrison, Eric  TikTok             Video            0.2 hours         May Call
Pappas, Vanessa TikTok             Video            0.3 hours         Will Call
“V”
Pattabiraman,   LinkedIn           Video            0.5 hours         Will Call
Kumaresh
Raymond,        Reddit             Video            0.9 hours         Will Call
Winter
Rose, Dan       Meta               Video            0.4 hours         May Call
Vallery, Jason  Microsoft          Video            0.2 hours         May Call
Zoufonoun,      Meta               Read Testimony   0.1 hours         May Call
Amin




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